     Case 3:20-cr-00783-DMS Document 76 Filed 11/04/20 PageID.1077 Page 1 of 3




 1
 2
 3
 4
 5
 6
 7
                                 UNITED STATES DISTRICT COURT
 8
                            SOUTHERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                    Case No. 20-CR-00783-002-DMS
10
11                  Plaintiff,
12          v.
                                                  ORDER OF RESTITUTION
13   CLAYTON HILL (2),
14
                    Defendant.
15
16         IT IS HEREBY ORDERED:
17         1.       Pursuant to 18 U.S.C. § 3663A, Defendant Clayton Hill (hereinafter
18 “Defendant”) shall pay restitution in the amount of $931,764 as a result of her conviction
19 for conspiracy to commit mail fraud, in violation of 18 U.S.C. § 371. Pursuant to
20 18 U.S.C. § 3663(a)(3), Defendant shall pay restitution in the amount of $50,933 as a result
21 of his conviction for tax evasion, in violation 26 U.S.C. § 7201. The total amount of
22 restitution due is $982,697, which shall be joint and several with Geraldine Hill.
23         2.       Restitution shall be paid to the following victims in the specified amounts.
24 Pursuant to 18 U.S.C. § 3664(i), the non-United States government victim shall receive
25 full restitution before the United States receives any restitution.
26               Non-Governmental Victim                                 Amount
27               Brooks Sports, Inc.                                     $931,764
28               c/o Legal Department
     Case 3:20-cr-00783-DMS Document 76 Filed 11/04/20 PageID.1078 Page 2 of 3



                3400 Stone Way North, Suite 500
 1
                Seattle, Washington 98103
 2
 3              Governmental Victim                                    Amount
                Internal Revenue Service                                $50,933
 4
 5         3.       Defendant shall make a bona fide effort to pay restitution in full as soon as
 6 practicable.
 7         4.       After considering the factors set forth in 18 U.S.C. § 3664(f)(2), the Court
 8 finds that Defendant has the ability to pay the restitution as set forth in the following
 9 payment schedule:
10                  a.    During any period of incarceration, Defendant shall pay restitution
11 through the Inmate Financial Responsibility Program at the rate of 50% of Defendant’s
12 income, or $25.00 per quarter, whichever is greater.
13                  b.    Upon release from custody, Defendant shall pay restitution at the rate
14 of at least $500.00 per month, subject to modification upon further agreement of the parties
15 or order of the Court.
16         5.       This payment schedule does not foreclose the United States from exercising
17 all legal actions, remedies, and process available to collect the restitution judgment,
18 including but not limited to remedies pursuant to 18 U.S.C. §§ 3613 and 3664(m)(1)(A).
19         6.       Defendant shall forward all restitution payments by bank or cashier’s check
20 or money order. The payee, except as to Defendant’s payments to the IRS, shall be the
21 “Clerk, U.S. District Court,” to:
22                        Clerk of the Court
23                        United States District Court
                          Southern District of California
24                        333 West Broadway, Suite 420
25                        San Diego, CA 92101
26         7.       For payments to the IRS, Defendant shall include, with his payment(s), his

27   name and social security number, the District Court’s docket number assigned to this case,
28   the tax year(s) or period(s) for which restitution has been ordered, and a statement that the

     Restitution Order                             2                              20CR0783-002-DMS
     Case 3:20-cr-00783-DMS Document 76 Filed 11/04/20 PageID.1079 Page 3 of 3



     payment is being submitted pursuant to the District Court’s restitution order, and send
 1
     payment by bank or cashier’s check, payable to “Internal Revenue Service,” to:
 2
 3                         IRS-RACS
                           Attn: Mail Stop 6261, Restitution
 4                         3333 Pershing Ave.
 5                         Kansas City, MO 64108

 6 Defendant shall provide notice of any direct IRS payments to the Clerk of the Court at the
 7 address in paragraph 8 above.
 8          8.       Defendant agrees to send a notice to the Clerk of Court of the District Court

 9   of payments sent directly to the IRS.

10          9.       The Court has determined that Defendant does not have the ability to pay

11   interest. The interest requirement is waived pursuant to 18 U.S.C. § 3612(f)(3)(A).

12          10.      Until restitution has been paid, Defendant shall notify the Clerk of the Court

13 and the United States Attorney’s Office of any change in Defendant’s economic
14 circumstances that might affect Defendant’s ability to pay restitution no later than thirty
15 days after the change occurs. See 18 U.S.C. § 3664(k).
16       11. Until restitution has been paid, Defendant shall notify the Clerk of the Court

17 and the United States Attorney’s Office of any change in mailing or residence address, no
18 later than thirty days after the change occurs. See 18 U.S.C. § 3612(b)(1)(F).
19          IT IS SO ORDERED.
20
     Dated: November 4, 2020
21
22
23
24
25
26
27
28

      Restitution Order                             3                              20CR0783-002-DMS
